* CANAL BANK &amp; TRUST CO., EXECUTOR, ESTATE OF JOSEPH RATHBORNE, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT. Canal Bank &amp; Trust Co. v. CommissionerDocket No. 20159.United States Board of Tax Appeals15 B.T.A. 424; 1929 BTA LEXIS 2864; February 14, 1929, Promulgated *2864  Assessment of additional taxes for the year 1917 held not barred by the statute of limitations.  Stanley Suydam, Esq., for the respondent.  SIEFKIN*424  This is a proceeding for the redetermination of a deficiency in income taxes for the year 1917 in the amount of $23,754.11.  The petition contains the following allegation of error: (1) The proposed action of the respondent in assessing, at this time, a tax for the year 1917, on the basis of an amended return filed in February, 1924, the statutory period of limitation within which assessment for 1917 could be made having expired on April 1, 1924.  *425  FINDINGS OF FACT.  The petitioner is a fiduciary, an executor of the estate of Joseph Rathborne, deceased, with principal place of business at New Orleans, La.During the year 1918, a tax return was filed for the year 1917.  The total tax assessed and paid on the basis of such return was $61,642.98.  Under date of December 13, 1922, a waiver for the year 1917 was signed and executed in the form proposed by the respondent.  No waiver for the year 1917 has been filed other than that of December 13, 1922.  In February, 1924, an*2865  amended return for the year 1917 was filed for Joseph Rathborne, such amended return showing an additional tax liability in the amount of $23,754.11.  The additional assessment now proposed is based on the amended return filed in February, 1924.  The respondent's letter stating the deficiency of $23,754.11 is dated July 26, 1926.  OPINION.  SIEFKIN: At the hearing of this proceeding the petitioner was not represented.  The only facts we have for consideration are those set forth in the petitioner and admitted by the respondent.  The proper return for the year 1917 was filed sometime in 1918.  In the absence of waivers, assessment of taxes for 1917 would have been barred sometime during the year 1923 by the Revenue Act of 1921.  On December 13, 1922, the petitioner filed a waiver.  There is no evidence to show whether this was a limited or unlimited waiver.  From the evidence before us we can not determine that the assessment of the additional tax for the year 1917 is barred.  Judgment will be entered for the respondent.Footnotes*. This decision was vacated and proceeding restored to calendar for rehearing on the merits by order of March 26, 1929. ↩